Case 4:19-cv-00234 Document 18 Filed on 05/16/19 in TXSD Page 1 of 1

United States Courts
Southern District of Texas
FILED

UNITED STATES DISTRICT COURT “AY £8 2aig

David J. Bradley, Clerk of Court
SOUTHERN DISTRICT OF TEXAS

Defendant: City Eyewear. Plaintiff: OAKLEY
Case Number: 4:19-cv-00234

Date: 05/16/2019

ATT: United states District Judge (Honorable judge Sim Lake).

| already filed the answer that was submitted on 02/22/2019 (copy enclosed)

| cannot afford to pay for an attorney, | made several attempts to contact young association layers in
Houston and Austin as well as (Houston Bar Association) witch | have not received a respond as of yet.

Regard’s
Mr. Mostaine

On Behalf of City Eyewear
